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                                                     September 10, 2019

VIA ECF
Honorable Judge Gregory H. Woods
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Morgan v. OSP Holdings, Inc.; Case No. 1:19-cv-06937-GHW


To the Honorable Judge Woods,

       The undersigned represents Plaintiff Jon R. Morgan (hereinafter “Plaintiff”) in the above-
referenced matter. Counsel for Defendant has yet to appear on this matter.

        The Initial Conference for this matter is set for September 25, 2019, at 3:00 p.m. However,
Plaintiff’s Counsel will be traveling and out of the country from September 24, 2019 until the
middle of October for the Rosh Hashana and Yom Kippur Holidays and will thus not be able to be
present in Court on September 25, 2019. Further, as a result of the Jewish Holidays falling out in
October of this year and due to the undersigned’s traveling and the observance of the upcoming
Jewish Holidays, including the holiday of Sukkot which runs from October 14, 2019 until October
22, 2019, the undersigned respectfully requests an adjournment of the Initial Conference to any
date after October 23, 2019 that is convenient for the court.

        This is the first request for an adjournment of the Initial Conference. At this time Counsel
for the Plaintiff formally requests that the September 25, 2019 Initial Conference be adjourned to
October 23, 2019 or any date after that is convenient for the Court.

       Thank you for your time and consideration of the above request.


                                                             Respectfully,

                                                              /s/ Jonathan Shalom
                                                             Jonathan Shalom, Esq.
